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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



 TARKETT USA, INC.                            )       CASE NO.1:16CV2400
                                              )
                       Plaintiff,             )       JUDGE CHRISTOPHER A. BOYKO
                                              )
                Vs.                           )
                                              )
 HARNIX CORP., ET AL.,                        )       OPINION AND ORDER
                                              )
                       Defendant.             )

 CHRISTOPHER A. BOYKO, J:

        This matter is before the Court on Defendants’ Harnix Corp. d/b/a Linron, J. Ron

 Harris and Linda Krienke (“Defendants”) Motion to Dismiss for Lack of Personal Jurisdiction

 and, in the Alternative, Motion to Transfer Venue. (ECF # 9). For the following reasons, the

 Court denies Defendants’ Motion.

        Plaintiff Tarkett USA, Inc. (“Tarkett”) is located in Solon, Ohio and is a manufacturer,

 marketer and distributor of commercial and residential flooring products. Harnix Corp. d/b/a

 Linron (“Linron”) is a Texas based company that distributes, resells and acts as installation

 project manager of flooring materials, including products manufactured by Tarkett.

        According to Tarkett’s Complaint, in 1996, Tarkett, through its predecessors Azrock

 Industries, Inc. and National Floor Products Company, Inc., entered into an Agreement with
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 Defendants that involved the reselling of Tarkett products to Walmart. Under the

 Agreement, Defendants would manage the installation process of the Tarkett products.         The

 Agreement contained a non-compete clause wherein Defendants agreed not to sell competing

 products to Walmart.

        Defendants also managed the removal of Tarkett products at Walmart stores wherein

 the old flooring was removed and returned to Tarkett for recycling and use in new Tarkett

 products. These include vinyl composite tile (“VCT”), which consists of approximately 30%

 recycled materials, reduce Tarkett costs and support Tarkett’s sustainability initiatives.

        The relationship continued for nearly twenty years with an average of $14,500,000 of

 Tarkett products sold to Walmart through 2013. During this time the VCT product sold to

 Walmart was manufactured in Texas. In 2014, Tarkett moved its VCT production operation

 to Alabama. Initially, the VCT product produced at the Alabama facility did not meet Tarkett

 quality standards. In 2015, Defendants represented to Tarkett that Walmart refused to accept

 Tarkett VCT due to its poor quality. Tarkett later learned these representations were not true.

 In light of these representations, Tarkett, per amendment to the Agreement, allowed

 Defendants to source other products to Walmart until Tarkett resolved its Alabama production

 issues. After a few months the production issues were resolved, however, Defendants

 continued without explanation to complain about the VCT quality.

        Defendants refused to work with Tarkett. Thereafter, Tarkett established a set a

 performance metrics for its product which mirrored the product quality standards of its Texas

 produced VCT. Defendants agreed that if the Alabama-produced VCT met these metrics

 Defendants would resume sales of Tarkett products to Walmart.       Despite meeting the


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 performance metrics, Defendants refused to resume sales to Walmart of Tarkett products and

 instead sold competitor products to Walmart.

        In 2015, Tarkett and Defendants attempted to negotiate a new agreement to replace

 the 1996 Agreement. Defendants represented to Tarkett that Walmart now insisted on having

 more than one source of flooring products. Tarkett subsequently learned this was not true.

        On August 7, 2015, Defendants gave notice of termination of the 1996 Agreement.

 Tarkett acknowledged receipt of the notice and reminded Defendants of the prohibited

 activities clause, including the non-compete provision, that would remain in effect for one

 year. In spite of the contractual non-compete clause, Defendants have competed with Tarkett

 in violation of their obligations under the 1996 Agreement.

        Tarkett alleges Breach of Contract, Breach of Implied Contract and Intentional

 Misrepresentation against Defendants. Tarkett further alleges Tortious Interference with

 Business Relationships and Breach of Contract claims against a former employee.

 Defendants’ Motion to Dismiss

        According to Defendants, the Court lacks Personal Jurisdiction over them because:

 they did not personally avail themselves of the privilege of doing business in the State of

 Ohio. The only contact with the State of Ohio is Tarkett’s location there. For the first fifteen

 years of the parties’ relationship Tarkett’s predecessors were located in Texas until acquired

 by Tarkett. The only contacts with Ohio were due to Tarkett’s relocating its headquarters

 there fifteen years into the relationship.

        Furthermore, none of conduct of which Tarkett complains occurred in the State of

 Ohio. Negotiations between Defendants and Walmart took place in Texas and Arkansas,


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 therefore, any activity in violation of the non-compete clause occurred outside Ohio. Any

 violation of an implied contract to return old flooring for recycling occurred outside Ohio as

 returned product was sent to Alabama, not Ohio. Also, any alleged misrepresentations to

 Tarkett about Walmart occurred in Texas, not Ohio.

        Should the Court find it may exercise personal jurisdiction over Defendants,

 Defendants request that the Court transfer venue for the convenience of the parties.

 According to Defendants, the Southern District of Texas is the proper venue because the

 operative facts of Tarkett’s claims occurred in Texas. All Defendants reside in Texas and

 Defendants’ business is located in Texas. Any alleged improper solicitation of competing

 business occurred in Texas and all Defendants’ sales information and communications are

 located in Texas. Walmart further returned defective product to Defendants in Texas. Costs

 of defending in Ohio will be substantial for Texas-based Defendants. Walmart witnesses will

 be critical to the case and the Court would lack subpoena power over them.

        Public interests favor transfer because jurors in Ohio have no significant local interest

 in a case where the relevant acts took place in Texas. The relevant contract was not

 negotiated in Ohio and the tile at issue was not manufactured in Ohio. Texas law would

 apply because Texas has the most significant contacts to the dispute.

 Plaintiff’s Opposition

        According to Plaintiff, Defendants engaged in numerous acts in the State of Ohio

 sufficient to establish minimum contacts. According to the affidavit of Joseph Jared, Vice-

 President of Business Development for Tarkett, Defendants placed product orders with

 Tarkett for flooring products to be installed in over eighty Ohio based Walmart stores.


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 Defendants oversaw the installation and removal of Tarkett products in these stores. Tarkett’s

 witnesses are all located in Ohio. Tarkett moved its operations to Ohio in 2006. Since that

 time Defendants have been in constant communication with Tarkett via, phone, email and

 regular mail in furtherance of their contractual relationship. Defendants submitted travel

 reimbursement requests to Ohio and made representations forming the bases of Plaintiff’s

 claims to Tarkett employees in Ohio. Defendants sent samples of allegedly defective VCT to

 Ohio. Amendments to the 1996 Agreement were executed by Tarkett employees in Ohio.

         The plaintiff bears the burden of showing that a federal court has personal jurisdiction

 over the defendant. However, when the court relies solely on written materials and affidavits,

 that burden is relatively slight; and the plaintiff must make only a prima facie showing that

 personal jurisdiction exists. Air Prods. & Controls, Inc. v. Safetch Int’l, Inc., 503 F.3d 544

 549 (6th Cir.2007). The court must view the pleadings and affidavits in a light most

 favorable to the plaintiff; and when the court disposes of a Rule 12(b)(2) motion without an

 evidentiary hearing, it does not consider facts proffered by the party seeking dismissal. Dean

 v. Motel 6 Operating L.P., 134 F.3d 1269, 1272 (6th Cir.1998); see CompuServe, Inc. v.

 Patterson, 89 F.3d 1257, 1262-63 (6th Cir.1996).

                               STANDARD OF REVIEW

        The court must first determine whether personal jurisdiction is proper under the forum

 state’s long-arm statute — in this instance, Ohio Revised Code 2307.382. Bird v. Parsons,

 289 F.3d 865, 871 (6th Cir.2002); Sterling Jewelers, Inc. v. M & G Jewelers, Inc., No.

 5:14CV2030, 2015 WL 545778 at *1 (N.D.Ohio Fed.10, 2015). If it is, then the court decides

 whether exercising that jurisdiction is consistent with the Due Process Clause of the United


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 States Constitution. Bird, id.

        Defendants do not argue Ohio’s long-arm statute defenses but instead focus their

 arguments on lack of personal jurisdiction on due process challenges. Therefore, it is

 unnecessary for the Court to go through the analysis of Ohio Revised Code § 2307.382,

 however, the Court will briefly discuss Ohio’s long-arm statute requirements.

 Ohio’s Long Arm Statute

        Plaintiff alleges Defendants transacted business in Ohio, subjecting them to personal

 jurisdiction in Ohio. Section (A)(1) of Ohio’s long-arm statute reads:

        (A) A court may exercise personal jurisdiction over a person who acts directly or by
        an agent, as to a cause of action arising from the person’s:

                (1) Transacting business in this state.


 O.R.C. § 2307.382 (A)(1).

        Given the “relatively slight” burden on Plaintiff to show personal jurisdiction and

 construing the pleadings and affidavits in Plaintiff’s favor, the Court finds Plaintiff has

 established sufficient contacts with the State of Ohio satisfying Ohio’s long-arm statute. The

 Ohio Supreme Court has held that to ‘transact business’ is “to prosecute negotiations; to carry

 on business; [or] to have dealings.” Faurecia Exhaust Sys., Inc. v. Walker, 464 F. Supp. 2d

 700, 705-06 (N.D. Ohio 2006), citing Kentucky Oaks Mall Co. v. Mitchell's Formal Wear,

 Inc., 53 Ohio St. 3d 73, 75 (1990). Here, the parties offer opposing and contradictory

 affidavits, each attesting to the business dealings in Ohio or lack thereof. However, when as

 here the Court relies solely on the pleadings and affidavits, it must construe them in favor of

 the non-movant. When a plaintiff alleges a defendant transacted business in the state by


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 contracting with an in-state plaintiff, the Ohio long-arm statute requires “some continuing

 obligation that connects the non-resident defendant to the state or some terms of the

 agreement that affect the state.’”Dayton Superior Corp. v. Yan, 288 F.R.D. 151, 161 (S.D.

 Ohio 2012) quoting Shaker Construction Group, LLC v. Schilling, No. 1:08cv278, 2008 WL

 4346777, at *2 (S.D.Ohio Sep. 18, 2008).

        The parties acknowledge that they attempted to negotiate a continuation of the 1996

 Agreement and that such back and forth negotiations occurred via telephone and emails.

 While directing communications to an Ohio resident is not enough in and of itself to find

 personal jurisdiction, such communications concerning the negotiation of contracts is

 “prosecuting negotiations” under Ohio law and is a factor that supports a finding that the

 parties transacted business in Ohio.

        Tarkett attests it negotiated and executed the Metrics Agreement in Ohio. Courts

 within this Circuit had held “‘[t]ransacting business' subsumes the narrower act of

 contracting.” Stern's Dept's Stores, Inc. v. Herbert Mines Assoc., No. C–1–98–844, 1999

 U.S.Dist. LEXIS 10805, at *15 (S.D.Ohio July 8, 1999) (citations omitted) (quoting Douglas

 v. Modern Aero, Inc., 954 F.Supp. 1206, 1210 (N.D.Ohio 1997)). The Supreme Court of

 Ohio has held that transacting business “encompasses ‘to carry on business,’ and ‘to have

 dealings,’ and is broader ... than the word ‘contract.’ ” Goldstein v. Christiansen, 70 Ohio St.

 3d 232, 235 (1994) (quoting Kentucky Oaks Mall Co. v. Mitchell's Formal Wear Inc., 53 Ohio

 St.3d 73 (1990)). Therefore, while the mere existence of a contract may not be enough to

 confer personal jurisdiction, a contract may qualify as transacting business under Ohio’s long-

 arm statute, particularly when it imposes continuing obligations on the parties affecting the


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 State of Ohio.   The 1996 Agreement, while not negotiated in Ohio, imposed continuing

 obligations on Linron in Ohio and Linron performed installation and removal work in Ohio

 under the 1996 Agreement. When coupled with negotiations to continue the 1996 Agreement

 and the Metrics Agreement these actions by Linron are sufficient evidence it transacted

 business in Ohio. Therefore, Tarkett has established Linron transacted business in the state.

 Due Process

        If jurisdiction is proper under Ohio’s long arm statute, the Court must next determine

 whether Linron’s contacts with Ohio were sufficient under the Fourteenth Amendment Due

 Process Clause to allow the Court to exercise jurisdiction. In order for personal jurisdiction to

 comply with due process, Defendants must have “minimum contacts” with the forum state “so

 that the maintenance of the action does not offend ‘traditional notions of fair play and

 substantial justice.’ ” Citizens Bank v. Parnes, 376 F. App'x 496, 502 (6th Cir. 2010).

 “Minimum contacts exist where a defendant's conduct and connection with the forum state are

 such that he would reasonably anticipate being haled into court there.” Id. (quoting

 World–Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)).

        There are two types of personal jurisdiction: 1) general jurisdiction, which requires “a

 showing that the defendant has continuous and systematic contacts with the forum state

 sufficient to justify the state's exercise of judicial power with respect to any and all claims the

 plaintiff may have against the defendant,” and 2) specific jurisdiction, “which exposes the

 defendant to suit in the forum state only on claims that ‘arise out of or relate to’ a defendant's

 contacts with the forum.” Kerry Steel, Inc. v. Paragon Indus., 106 F.3d 147, 149 (6th

 Cir.1997).


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        The Sixth Circuit has concluded that “Ohio law does not appear to recognize general

 jurisdiction over non-resident defendants, but instead requires that the court find specific

 jurisdiction under one of the bases of jurisdiction listed in Ohio's long-arm statute.” Conn v.

 Zakharov, 667 F.3d 705, 717 (6th Cir. 2012). Therefore, the Court will analyze whether it

 has personal jurisdiction over the Linron Defendants under the specific jurisdiction prong of

 the due process inquiry.

        The Sixth Circuit has articulated a three-part test for determining whether the exercise

 of specific personal jurisdiction comports with due process: (1) the defendant must

 purposefully avail itself of the privilege of acting in the forum state or causing a consequence

 in the forum state; (2) the cause of action must arise from the defendant’s activities there; and

 (3) the acts of the defendant or consequences caused by the defendant must have a substantial

 enough connection with the forum to make the exercise of jurisdiction over the defendant

 reasonable. Patterson, 89 F.3d at 1263; S. Mach. Comp. v. Mohasco Indus., Inc., 401 f.2d

 374, 381 (6th Cir.1968).

        Personal jurisdiction requires a forum-by-forum analysis. J. McIntyre Mach. v.

 Nicastro, 564 U.S. 873, 131 S.Ct. 2780, 2789 (2011). “The question is whether a defendant

 has followed a course of conduct directed at the society or economy within the jurisdiction of

 a given sovereign.” Id.

 Purposeful Availment

        To be subject to personal jurisdiction, the defendant must “purposefully avail itself of

 the privilege of conducting activities within the forum State, thus invoking the benefits and

 protections of its laws.” Hanson v. Denckla, 357 U.S. 235, 253 (1958). Importantly, the


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  plaintiff’s unilateral activity will not satisfy the required contact between the defendant and

  the state. Id. The Supreme Court has held that “[w]here the defendant deliberately has

  engaged in significant activities within a State, or has created continuing obligations between

  himself and residents of the forum, he manifestly has availed himself of the privilege of

  conducting business there, and because his activities are shielded by the benefits and

  protections of the forum's laws it is presumptively not unreasonable to require him to submit

  to the burdens of litigation in that forum as well.” Burger King Corp. v. Rudzewicz, 471 U.S.

  462, 475-76 (1985).

         According to Defendants, the only connection they have to Ohio is the fact that

  Tarkett acquired Azrock and decided to move its headquarters to Ohio nearly fifteen years

  into the parties’ relationship. However, the evidence at this stage of the proceedings

  demonstrates Defendants have, over the course of many years, continuously availed

  themselves of the privilege of conducting business in Ohio. According to the affidavit of

  Joseph Jared, Vice President of Business Development for Plaintiff, Linron under the 1996

  Agreement, placed sales orders for VCT and other Tarkett products for approximately eighty-

  two stores located in Ohio from 2012 through 2015. Linron, per the terms of the 1996

  Agreement, managed the installation of Tarkett products and removed old flooring in these

  Ohio Walmart stores. Since moving its headquarters to Ohio, all Linron’s communications

  with Tarkett have been directed to Ohio. Further, Linron employees traveled to Ohio

  Walmart stores, including those located in the Northern District of Ohio, to inspect allegedly

  defective Tarkett flooring product, then sent Tarkett travel expense reimbursement requests

  for the inspections.   Linron also sent to Ohio samples of allegedly defective Tarkett flooring


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  products. Negotiations to resolve issues surrounding the allegedly defective Tarkett products

  were conducted by Tarkett employees in Ohio and the Metrics Agreement, which was

  intended to resolve the issues, was executed by Tarkett employees in Ohio.

         Linron’s flooring activities in Ohio performed under the 1996 Agreement are

  sufficient to establish purposeful availment given Plaintiff’s “slight” burden. The 1996

  Agreement imposed continuing obligations upon Linron to install Tarkett product in Walmart

  stores throughout the United States but also within this jurisdiction. Therefore, Tarkett has

  met its burden demonstrating purposeful availment.

  Arises Under

         Under the second prong, where “a defendant’s contacts with the forum state are

  related to the operative facts of the controversy, the action will be deemed to have arisen

  from those contacts.” CompuServe, Inc. v. Patterson, 89 F.3d 1257, 1267 (6th Cir. 1996).

  Plaintiff’s Complaint alleges claims for Breach of Contract amongst other claims. Under

  Ohio law, “if the cause of action is for breach of that contract [with an Ohio resident] ... then

  the cause of action naturally arises from the defendant's activities in Ohio.” ALTA Analytics,

  Inc. v. Muuss, 75 F. Supp. 2d 773, 779 (S.D. Ohio 1999), quoting Cole v. Mileti, 133 F.3d

  433, 436 (6th Cir.1998). Because the 1996 Agreement imposed continuing obligations on the

  Linron Defendants, including obligations for work to be performed in Ohio, Linron’s actions

  arise out of its contacts with the State of Ohio.

  Substantial Connection

         Under the final prong of the specific jurisdiction analysis, the Court must determine

  whether “the acts of the defendant or consequences caused by the defendant must have a


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  substantial enough connection with the forum state to make the exercise of jurisdiction over

  the defendant reasonable.” Kerry Steel, 106 F.3d at 150. According to Sixth Circuit

  precedent, “where the first two prongs are satisfied, only the unusual case will not meet this

  third criterion.” Aristech Chem. Int’l Ltd. v. Acrylic Fabricators Ltd., 138 F.3d 624, 628 (6th

  Cir. 1998). To determine reasonableness, the Court must balance three factors: “the burden

  on the defendant, the interests of the forum State, and the plaintiff's interest in obtaining

  relief.” Fortis Corporate Ins. v. Viken Ship Mgmt., 450 F.3d 214, 223 (6th Cir. 2006)

  (internal citations omitted). Here, while unquestionably defending itself in Ohio will be

  burdensome on the Linron Defendants, it is not unduly so as Linron routinely performs work

  in Ohio.

         Furthermore, Ohio has a strong interest in ensuring the enforcement of its laws and

  enforcing contracts. Lastly, Tarkett’s claims for breach of contract demonstrate its strong

  interest in obtaining relief. As is the case here, where Tarkett has met its slight burden to

  show the Linron Defendants purposefully availed themselves of the Ohio forum and Tarketts

  injuries were a result in part of Linron’s contacts with this forum, specific jurisdiction is

  presumed. Cole v. Miletti, 133 F.3d at 436. The Court finds this is not that rare instance

  where Defendant’s contacts with Ohio are so minimal that such burden outweighs the

  interests of Ohio.

         Having determined the Court has personal jurisdiction over Defendants, the Court

  denies Defendants’ Motion to Transfer as well. When deciding whether to transfer a case

  under 28 U.S.C. § 1404(a) the Sixth Circuit has stated that, on “a motion to transfer under §

  1404(a), a district court should consider the private interests of the parties, including their


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  convenience and the convenience of potential witnesses, as well as other public-interest

  concerns, such as systemic integrity and fairness, which come under the rubric of ‘interests of

  justice.’ ” Moore v. Rohm & Haas Co., 446 F.3d 643, 647 n. 1 (6th Cir.2006). Here, there is

  no compelling private or public factor supporting transfer.   Witnesses will be likely split

  between Texas and Ohio with some located in Alabama and public factors such as Ohio’s

  interest in enforcing contracts favor Ohio.

         Therefore, for the foregoing reasons, the Court finds it has personal jurisdiction over

  Defendants and denies Defendants’ Motion to Dismiss or transfer venue.

         IT IS SO ORDERED.


                                        s/ Christopher A. Boyko
                                        CHRISTOPHER A. BOYKO
                                        United States District Judge
  Dated: May 23, 2017




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